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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

EMANI LOVE, et al.
                                                     Case No. 15-cv-11834
      Plaintiffs,                                    Hon. Nancy G. Edmunds
v.                                                   Mag. Judge Elizabeth A. Stafford

RUTH JOHNSON, in her official capacity as
the Secretary of State of Michigan,
       Defendant.
____________________________________/
                       STIPULATED PROTECTIVE ORDER

      Plaintiffs E.B., A.M. and K.S. have requested that they be allowed to

proceed in this action, identified only by their initials/pseudonyms. IT IS SO

ORDERED:

      1.     Defendant’s consent to this protective order is not an admission nor

should the Defendant’s consent be regarded as agreement with any statement or

argument made in Plaintiffs’ brief in support of the motion for Protective Order.

      2.     All documents filed with this Court that contain the name of Plaintiffs

E.B., A.M. and/or K.S., or information that directly identifies these Plaintiffs, shall

be filed under seal.

      3.     In all publicly-filed documents, Plaintiffs E.B., A.M. and K.S. shall

hereafter be identified only by their initials/pseudonyms. The remaining Plaintiffs

may also be identified by their initials/pseudonyms.

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      4.     If requested to do so, Plaintiffs’ counsel shall disclose the names of

Plaintiffs E.B., A.M. and K.S. to counsel for the Defendant.

      5.     Counsel for the Defendant may only disclose the identities of these

Plaintiffs to Defendant, necessary employees of Defendant’s counsel, employees of

Defendant, experts retained in this case, and other individuals necessary to present

a defense, but only to the minimum extent necessary to litigate this action.

      6.     Individuals to whom disclosure of Plaintiffs E.B., A.M., and/or K.S.’s

identity is made as contemplated in paragraph 5 above shall not further disclose

that information to any other person other than individuals necessary to present a

defense to this action.

      7.     Any person to whom disclosure is made as a result of this litigation

shall read this protective order prior to having access to the identities of Plaintiffs

E.B., A.M., or K.S. and agree to be bound by this order.

      8.     Except as provided in this order, under no circumstances shall any

person intentionally disclose the identities of Plaintiffs E.B., A.M. or K.S.

without the express written consent of Plaintiffs’ counsel.

      9.     If Plaintiffs or the counsel for the Plaintiff choose to abandon Plaintiffs’

anonymity by publicly disclosing the identities of Plaintiffs E.B., A.M., or K.S., this

Protective Order is terminated, but only as to the Plaintiff or Plaintiffs whose

anonymity is abandoned by public disclosure.



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      10.    If any specific issues related to nondisclosure of Plaintiffs E.B., A.M.,

or K.S.’s identities arise during the course of this action, the parties shall seek to

resolve those issues without court intervention. If the parties cannot agree, they

shall seek further clarification from this Court.

                                                SO ORDERED.

                                                s/Elizabeth A. Stafford
                                                Elizabeth A. Stafford
                                                United States Magistrate Judge

Dated: July 28, 2015




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